 

Case 7:07-cr-00119-RAJ Document1 Filed 06/2 7/07-<9eege 1 of 2
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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEXAS week

MIDLAND-ODESSA DIVISION BY

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UNITED STATES OF AMERICA

CR. NO. MO-07-CR-

M007CR119

VS.

DANIEL LONGORIA,
ABELARDO DAVILA,
JOSE LUIS CRUZ,
GABRIEL PEREZ,
PATRICIA SAMANIEGO,
TERRENCE GIBSON,
NAKISHA JOHNSON,
CRYSTAL MUNOZ,
ABRAHAM FRIAS,
and
ERNESTO ALANIZ

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MOTION TO SEAL
COMES NOW the United States of America by and through the United States Attorney for
the Western District of Texas and the undersigned Assistant United States Attorney for said district
and files this its Motion to Seal the Indictment, Arrest Warrants, all accompanying documents, this
Motion and Order in the above-styled and numbered cause and for grounds therefore states:

1. Access to the documents herein prior to their service would jeopardize and
compromise the investigation herein.

2. To publicize the documents herein would seriously jeopardize the safety of arresting
officers.

WHEREFORE, the United States respectfully prays that this Court issue an order sealing the
Indictment, Arrest Warrants, all accompanying documents, this Motion and Order in the above-
styled and numbered cause, save and except copies to be delivered to the United States Attorney's
Office, United States Marshals Service, and the Drug Enforcement Administration.

The United States requests that upon the arrest of any one or more of the Defendant(s), the
 

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Indictment shall be UNSEALED as to the arrested Defendant(s). The United States prays that the

names of the remaining Defendant(s), ifany, continue to be SEALED for a period of at least seven

(7) days.

Respectfully submitted,

JOHNNY SUTTON
UNITED STATES ATTORNEY

 

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